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observable leaks. Table 4 lists the recorded time to close and maximum applied pressures
for each of the flow rates. There are no specific API or industry response time
requirements for ram closure by ROV intervention.

Table 4 ROV Panel BSR Close Function Test

BSR ST Lock
Flow Rate Time to Close Max Pressure (psig)
(gpm) BSRs (min:sec) Starboard Port
1 72:28 2,850 2,750
13:34 2,850 2,775
7.5 3:15 2,900 2,875

6.1.10 Solenoid 103 Bench Testing

Solenoid 103 when activated supplies pilot pressure to the High Pressure Shear Ram
Close shuttle valve, which is located on the High Pressure Shear Panel. Solenoid 103 is
used for both EDS and AMF/Deadman sequences. Solenoid 103Y from the Yellow Pod
was removed during intervention activities after the Yellow Pod was lifted to surface.
The original Solenoid 103Y was removed, replaced with a new solenoid, and taken into
evidence to allow for future testing.

The original Solenoid 103Y was tested for the resistance of both the A and B coils and
for the voltage necessary to energize each coil. An initial voltage of 24 volts was applied.
If the coil energized (indicated by an audible click), then the voltage was reduced until
the coil de-energized (also indicated by an audible click). This determined the drop-out
voltage. Starting voltage was then set at 0 volts and increased in one volt increments until
the coil energized. This determined the coarse minimum voltage necessary to energize
the coil. The minimum voltage was determined more precisely by setting the starting
voltage to 2 volts lower than the coarse minimum voltage and manually increasing the
voltage applied until the coil energized.

The resistance for coil A was 39.7 ohms. The resistance for coil B was 39.7 ohms. The
resistance measurements between each of pins 1 through 4 and the solenoid chassis were
greater than 20 megaohms. The minimum voltage at which coil A was energized was
14.6 volts. The dropout voltage for coil A was 1.9 volts. The minimum voltage at which
coil B was energized was 14.5 volts. The dropout voltage was 1.8 volts. The bench
testing of the original Solenoid 103Y functioned as intended in accordance with the
manufacturer’s specifications.*

As a result of functioning as intended, the original Solenoid 103Y was mounted back
onto the Yellow Pod.

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6.1.11 Solenoid 3A Bench Testing

Solenoid 3A when activated supplies hydraulic fluid to the Upper Annular Regulator
Pilot — Increase, which is located on the LMRP. Solenoid 3A from the Yellow Pod was
removed during intervention activities after the Yellow Pod was lifted to the surface. The
original Solenoid 3A was removed, replaced with a new solenoid, and taken into
evidence to allow for future testing.

The original Solenoid 3A was tested for the resistance of both the A and B coils and for
the voltage necessary to energize each coil. An initial voltage of 24 volts was applied. If
the coil energized (indicated by an audible click), then the voltage was reduced until the
coil de-energized (also indicated by an audible click). This determined the drop-out
voltage. Starting voltage was then set at 0 volts and increased in one volt increments until
the coil energized. This determined the coarse minimum voltage necessary to energize
the coil. The minimum voltage was determined more precisely by setting the starting
voltage to 2 volts lower than the coarse minimum voltage and manually increasing the
voltage applied until the coil energized.

The resistance for coil A was 40.0 ohms. The resistance for coil B was 40.0 ohms. The
resistance measurements between each of pins 1 through 3 and the solenoid chassis were
greater than 20 megaohms. The minimum voltage at which coil A was energized was
14.8 volts. The dropout voltage for coil A was 2.2 volts. The minimum voltage at which
coil B was energized was 14.8 volts. The dropout voltage for coil B was 2.2 volts. The
bench testing of the original Solenoid 3A functioned as intended in accordance with the
manufacturer’s specifications.‘

6.1.12 Blue and Yellow Pod Battery Voltage and Load Testing

The as-received voltage of the SEM A and SEM B 9 volt batteries and the 27 volt battery
was measured on both the Blue and Yellow Pods. The measured voltages are shown in
Table 5. The 27V battery on the Blue Pod registered a low voltage. No abnormalities
were noted with the voltages from the remaining batteries.

Table 5 Blue and Yellow Pod Battery Voltages Measurements

Blue Pod (Volts) | Yellow Pod (Volts)
Battery Test 1 | Test2 | Testl Test 2
SEM A (9V) 8.9 8.9 8.7 8.7
SEM B (9V) 8.7 8.7 8.4 8.4
Solenoid/Transducer (27V) 1.1 1.0 28.2 28.2

The Blue and Yellow Pod batteries are lithium-ion type. A load test was conducted to
determine if the batteries would maintain their voltage after a current load was applied.
The batteries were load tested with 100-ohm and 20-ohm resistors. The 100-ohm load

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was chosen as an initial low current load test. The 20-ohm was chosen to simulate the
demand seen by activation of the AMF/Deadman circuit. After load was applied, an
initial reading was taken followed by a second reading after 2 minutes. Two minutes was
chosen based on the fact that the AMF/Deadman sequence is active (and demanding
power from the batteries) for approximately 90 seconds. The results are detailed in
Table 6. Because the 27V battery on the Blue Pod registered a low voltage, it was not
load tested.

Table 6 Blue and Yellow Pod Battery Load Test Results

Yellow Pod Blue Pod
Load Load
100 Ohm 20 Ohm 100 Ohm 20 Ohm
Voltage Voltage
Batter
Y | qnitiat | After | tnitiar | Af | tition | Aft | tition | AfOr
2 min 2 min 2 min 2 min
SEM A (9V) 8.3 8.3 8.0 8.0 8.6 8.6 8.3 8.2
SEM B (9V) 8.1 8.1 77 7.6 8.4 8.4 8.1 8.0
Sol/Trans
(27V) 27.1 26.9 26.0 25.4 n/a n/a n/a n/a

6.1.13 Blue and Yellow Pod Function Testing

The AMF/Deadman and the Autoshear functions can be initiated by either the Blue or the
Yellow Pod. In order to test the two functions, one Cameron-supplied laptop equipped
with testing software and one Portable Electronic Test Unit (PETU) were connected to
each of the Blue and Yellow Pods.

6.1.13.1 AMF/Deadman Pod Function Testing

Individual component tests for the BOP and LMRP stingers on the Blue and Yellow Pods
and Solenoids 103(Y&B) were run prior to full function testing of the AMF/Deadman
sequence.

6.1.13.1.1 Control Pod Stingers

Retaining pins were removed from the BOP and LMRP stinger hydraulic actuators to
disconnect the actuators and prevent the stingers from extending during the
AMF/Deadman Pod function testing. This was done because the tests were carried out
without a pod test stand with stinger receptacles. The Stinger Extend command was given
for both the BOP and LMRP stingers on both the Blue and Yellow Pods. The Stinger
Extend command functioned properly for all stingers. The Stinger Retract command was
given for both the BOP and LMRP stingers on the Blue and Yellow pods. The Stinger

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Retract command functioned properly for all stingers. No abnormalities were noted
during hydraulic actuator retraction and extension.

6.1.13.1.2 Solenoid 103Y and 103 B

Original Solenoids 103Y and 103B were activated using the laptop and PETU connected
to the respective pods. Both SEM A and SEM B on each pod were used to activate the
solenoid. The tests were run using 3,000 psig pod pilot supply pressure. Activation of a
solenoid was confirmed by monitoring a pressure gauge connected to the ’4 inch flexible
hose Swagelok connections just above the BOP Stack Junction Plate on each pod. Blue
Pod original Solenoid 103B activated for both SEM A and SEM B, as confirmed by
3,000 psig observed on the pressure gauge. Yellow Pod original Solenoid 103Y did not
activate regardless of which SEM was selected.

Pod pilot supply pressure was bled to 0 psig and further testing on Yellow Pod Solenoid
103Y was undertaken. Activation of the solenoid (coil energized) was confirmed by an
audible click. The energize command was given multiple times through both SEM A and
SEM B. There were no audible indications of the activation of Yellow Pod original
Solenoid 103Y. The solenoid pie connector to the SEM was removed and the plugs and
sockets cleaned, and the pie connector was reconnected. The energize command was
given through SEM B multiple times. A faint audible indication of solenoid activation
was heard once. 3,000 psig pod pilot supply pressure was supplied. The energize
command was given to the solenoid using SEM B. No pressure was seen on the pressure
gauge. The pod pilot supply pressure was bled off while the energize command continued
to be given. No confirmation of solenoid activation was heard. The de-energize command
was given.

The energize command was given through SEM B. No audible indication of solenoid
activation was heard. The de-energize command was given. A faint audible indication of
solenoid de-activation was heard. The energize command was given through SEM B
again. No audible indication of solenoid activation was heard. The de-energize command
was given. The second time, no audible indication of solenoid de-activation was heard.

The energize command was given through SEM A. No audible indication of solenoid
activation was heard. The de-energize command was given. No audible indication of
solenoid de-activation was heard.

Based on the testing results, the original Yellow Pod Solenoid 103Y was removed and
the replacement Solenoid 103Y was installed.

The replacement Yellow Pod Solenoid 103Y was given the energize command using both
SEM A and SEM B, without and with pod pilot supply pressure. The replacement
solenoid activated for all tests.

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6.1.13.1.3 AMF/Deadman Sequence Testing

Electrical power and communication was supplied via the two PETUs, simulating the
MUX cables present during normal operation. A modified RCB cable was connected
between the Blue and Yellow pods. This cable allowed the pods to communicate and
determine if the other pod has met all conditions necessary for AMF/Deadman to initiate.
The AMF/Deadman conduit supply pressure sensing input (connection 24) for each pod
was supplied with 1,000 psig hydraulic pressure. The pressure was blocked in. The
Laptop/PETU showed a pressure of 1,099 psig on the conduit supply pressure sensing
readout.

The baseline reading of the AMF/Deadman Arm analog channel was noted. The de-
activate/disarm command was given and the analog values noted. The expected value
was 900 + 60. The activate/arm command was given and the analog values noted. The
expected value was 0-30. The results are shown in Table 7.

Table 7 Analog Channel Current Values for AMF/Deadman

Yellow Pod Blue Pod
Value SEM A SEM B SEM A SEM B
(mA) (mA) (mA) (mA)
Baseline 913 916 919 915
De-activate AMF/Deadman 917 915 918 915
Activate AMF/Deadman 18 16 14 16

The connection from the Laptop/PETU to the Blue Pod was removed to simulate loss of
MUX communication to Blue Pod only. After one minute the AMF/Deadman function
did not activate, as was expected since hydraulic pressure and MUX communication to
the Yellow Pod were still present. The hydraulic pressure supplied to the AMF/Deadman
conduit supply pressure sensing input (connection 24) for each pod was bled to 0 psig.
After one minute the AMF/Deadman function did not activate, as was expected since
MUX communication to the Yellow Pod was still present.

The connection from the Laptop/PETU to the Yellow Pod was removed to simulate loss
of MUX communication (now to both Blue and Yellow Pods). The time (in seconds)
after the connection was removed was monitored and the time at which various functions
occurred was noted. Table 8 details the time at which each function occurred.

Table 8 Event Time Log - Yellow Pod Disconnect (Replacement 103Y)

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Time (sec) Event
0 Yellow Pod PETU connection removed
5 Laptop reading from PETU goes off
16 LMRP and BOP Stack stingers extend
18 LMRP and BOP Stack stingers energized
22 High Pressure (HP) BSR Gauge 103Y shows 3,000 psig
58 HP BSR Gauge 103Y shows 0 psig

The connection from the Laptop/PETU to the Blue Pod was re-established after more
than three minutes had elapsed since removal. It was expected that due to the low voltage
of the 27V battery on the Blue Pod, the 9V supplied SEMs (A and B) would initiate but
the sequence would not progress to the solenoids until an adequate power source was
reapplied. This test was performed to determine if the Blue Pod had initiated and would
complete the AMF/Deadman sequence. The time (in seconds) after the connection was
re-established was monitored and the time at which various functions occurred was
noted. The LMRP and BOP Stack stingers extend/energize events occurred and were
confirmed visually; however, the times were not noted. The results are detailed in

Table 9.
Table 9 Event Time Log - Blue Pod Reconnect (Replacement 103 Y)
Time
(sec) Event
0 Blue Pod PETU connection re-established
19 HP BSR Gauge 103B shows 3,000 psig.
55 HP BSR Gauge 103B shows 0 psig.

The voltage of all batteries was measured following the AMF/Deadman test. The results
are detailed in Table 10.

Table 10 Battery Voltage Following First AMF/Deadman Test

Blue Pod Yellow Pod
Battery (Volts) (Volts)
SEM A (9V) 8.9 8.6
SEM B (9V) 8.6 8.4
Solenoid/Transducer (27V) 0.7 27.7

The replacement Yellow Pod Solenoid 103Y was removed and the original Solenoid
103Y was installed. The AMF/Deadman test was repeated on the Yellow Pod only.

The AMF/Deadman function was activated/armed on both SEM A and SEM B. The
analog channel value for SEM A was 17 and 15 for SEM B. The pressure on the
AMF/Deadman conduit supply pressure sensing input (connection 24) for each pod was

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bled to 0 psig to simulate loss of hydraulics. The connection from the Laptop/PETU to
the Yellow Pod was removed to simulate loss of MUX communication. The time (in
seconds), after the connection was removed, was monitored and the time at which various
functions occurred was noted. Pressure was observed on the HP BSR Gauge 103Y at
43 seconds and returned to 0 psig at 50 seconds. This was observed as a delay of
Solenoid 103Y function, which in the previous test had occurred at around 20 seconds
(energize) and de-energized at around 30 seconds later. This time the delayed function
resulted in closing pressure only being applied for 7 seconds, which would be insufficient
to fully close the BSRs. The LMRP and BOP Stack stingers extend/energize events
occurred and were confirmed visually; however, the times were not noted. The results of
the second test with the original Yellow Pod Solenoid 103Y are detailed in Table 11.

Table 11 Event Time Log - Yellow Pod Disconnect (Original 103Y)

Time (sec) Event
0 Yellow Pod PETU connection removed
43 HP BSR Gauge 103Y shows 3,000 psig
50 HP BSR Gauge 103Y shows 0 psig
<180 Yellow Pod PETU reconnect, HP BSR Gauge 103Y shows 3,000 psig

The test was reset (i.e., BOP stack stinger seal retracted, BOP Stack stinger retracted) and
re-run. There was no delayed function of Solenoid 103Y observed. The results of the
second test with the original Yellow Pod Solenoid 103Y are detailed in Table 12.

Table 12 Event Time Log - Yellow Pod Disconnect Second Test (Original 103Y)

Time (sec) Event
0 Yellow Pod PETU connection removed
16 LMRP and BOP Stack stingers extend
19 LMRP and BOP Stack stingers energized
21 HP BSR Gauge 103Y shows 3,000 psig
51 HP BSR Gauge 103Y shows 0 psig
~120 Yellow Pod PETU reconnect, HP BSR Gauge 103Y shows 3,000 psig

After the second test using the original Solenoid 103Y, an individual component function
test was run on the solenoid. The energize command was given to the Yellow Pod
original Solenoid 103Y through SEM A. The solenoid did not activate (confirmed
through the HP BSR Gauge 103Y showing 0 psig). The energize command was then
given to the Yellow Pod original Solenoid 103Y through SEM B. The solenoid did not
activate (confirmed through the HP BSR Gauge 103Y showing 0 psig).

For the final AMF/Deadman test using the original Solenoid 103Y, a wait time of more
than three minutes was used before re-establishing the Laptop/PETU connection to the
Yellow Pod. The Yellow Pod was reset to re-run the AMF/Deadman test, as described
previously. The AMF/Deadman function was activated/armed on both SEM A and SEM

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B. The analog channel value for SEM A was 17 and 16 for SEM B. The pressure on the
AMF/Deadman conduit supply pressure sensing input (connection 24) for each pod was
bled to 0 psig. The connection from the Laptop/PETU to the Yellow Pod was removed.
The time (in seconds) after the connection was removed was monitored and the time at
which various functions occurred was noted. The results are detailed in Table 13.

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Table 13 Event Time Log - Yellow Pod Disconnect Final Test (Original 103Y)
Time
(sec) Event
0 Yellow Pod PETU connection removed
5 Laptop reading from PETU goes off
16 LMRP and BOP Stack stingers extend
19 LMRP and BOP Stack stingers energized.
21 HP BSR Gauge 103Y shows 3,000 psig.
51 HP BSR Gauge 103Y shows 0 psig.

Approximately six minutes after disconnecting the Laptop/PETU from the Yellow Pod,
the connection was re-established. The HP BSR Gauge 103Y showed 3,000 psig. After
approximately one minute, 0 psig was shown on the gauge.

An individual component function test was again run on the solenoid. The Laptop/PETU
was then used to energize Yellow Pod Solenoid 103Y through both SEM A and SEM B.
The solenoid did not activate using either SEM, confirmed through 0 psig being shown
on the pressure gauge.

The voltage on the Yellow Pod batteries was measured at the end of sequence testing.
The results are detailed in Table 14.

Table 14 Yellow Pod Voltages - Post Sequence Testing

Battery (Volts)
SEM A (9V) 8.5,
SEM B (9V) 8.1
Solenoid/Transducer (27V) | 27.2

The analog channel values for AMF/Deadman Arm were checked for both SEM A and
SEM B of the Blue and Yellow Pods at the end of sequence testing. Blue Pod SEM A
showed an analog value of 15. Blue Pod SEM B showed an analog value of 918. SEM A
and SEM B for the Yellow Pod were both greater than 900. .

6.1.13.2 Post AMF/Deadman of Yellow Pod Solenoid 103

The most probable reason why the original Solenoid 103Y worked during two out of
three sequence tests and failed during individual component testing was identified as
being related to whether or not both solenoid coils energize simultaneously (sequence
test) versus individually (component test). Energizing both coils simultaneously creates a
greater coil armature force versus a single coil energizing. To validate this theory,
additional testing was performed on the original Solenoid 103Y. The Yellow Pod was

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connected to the Laptop/PETU (designated PETU B) originally connected to the Blue
Pod, that was capable of activating SEM A and SEM B simultaneously. Pod pilot supply
pressure of 3,000 psig was delivered to the Yellow Pod. The command to energize
Solenoid 103Y was given via the Laptop/PETU with both SEM A and SEM B selected.
A maximum pressure of 3,000 psig was observed on the pressure gauge.

After confirming the solenoid activated with both SEMs selected, the solenoid was tested
with SEM A and SEM B selected individually. In both test conditions, the solenoid
activated and 3,000 psig was observed on the pressure gauge.

PETU B connected to the Yellow Pod was replaced with the original Laptop/PETU
(designated PETU Y) which was connected to the Yellow Pod during the AMF/Deadman
testing. The command to energize Solenoid 103Y was given via PETU Y through SEM
A. The solenoid activated and a maximum pressure of 3,000 psig was observed on the
pressure gauge. SEM B was selected via PETU Y and the test was repeated. The solenoid
did not activate as confirmed by 0 psig on the pressure gauge. This test was repeated two
more times with SEM B. The command was given to de-energize Solenoid 103Y
between each test. For both additional tests, the solenoid did not activate. SEM A was
selected via PETU Y and the test was repeated. The solenoid did not activate as
confirmed by 0-psig on the pressure gauge.

PETU Y connected to the Yellow Pod was replaced with PETU B. The command to
energize Solenoid 103Y was given via PETU B through SEM A. The solenoid activated
and a maximum pressure of 3,000 psig was observed on the pressure gauge. SEM B was
selected via PETU B and the test was repeated. The solenoid activated as confirmed by
3,000-psig on the pressure gauge.

The pie end connector of the plug connecting Solenoid 103Y to the Yellow Pod was
disconnected to measure the voltage delivered from the two PETUs (Y and B) to
Solenoid 103Y via SEM A and SEM B. An approximate 4-foot jumper cable was
connected to the pie receptacle to facilitate measurement of the voltage. The voltage was
measured in both the energized and de-energized condition. The results of the voltage
testing showed there was no appreciable difference in the voltage delivered to Solenoid
103Y by the two (see Table 15 for detailed results).

Table 15 Voltage Testing - Solenoid 103

SEM A SEM B
Energized Energized
PETU | __De-energized Steady | Peak De-energized Steady | Peak
Y 9.0 15.0 25.6 13.3 17.5 25.7
B 9.3 15.0 25.6 13.3 17.5 25.7

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The Yellow Pod was reconnected to PETU B. Pod Pilot Supply pressure of 3,000 psig
was delivered to the Yellow Pod. The command to energize Solenoid 103Y was given via
PETU B first with SEM A selected, second with SEM B selected, and third with SEM A
and SEM B selected. Solenoid 103Y activated under each test condition, as confirmed by
3,000 psig observed on the pressure gauge.

6.1.13.3_ Blue and Yellow Pod Autoshear Function Testing

The Autoshear Arm function was tested on both pods to verify that Solenoid 121
activates and allows hydraulic fluid to be supplied to the Autoshear Arm shuttle valve.
Pod Pilot Supply pressure was delivered to each pod. The Pod Pilot Supply pressure was
set to approximately 3,000 psig. This was confirmed via the Laptop/PETU as well as the
pressure gauge connected to the hydraulic line used to supply the hydraulic fluid. The
Autoshear Arm command, to activate Solenoid 121, was sent via the Laptop/PETU.
Activation of the solenoid was confirmed by monitoring the pressure gauge connected to
the %4-inch flexible hose Swagelok connections just above the BOP Stack Junction Plate
on each pod. A maximum of 2,950 psig was observed on the pressure gauge connected to
the Yellow Pod. A maximum pressure of 2,700 psig was observed on the pressure gauge
connected to the Blue Pod. The Blue and Yellow Pod Autoshear Arm solenoids (Solenoid
121) functioned as intended.

6.2 Materials Evaluation and Damage Assessment

Materials evaluation and damage assessment procedures followed protocols provided in:

e Forensic Testing Plan [October 22, 2010], Sections 5.13 - Materials Testing and
Damage Evaluation and 5.14 - Cataloging and Examination of Recovered Evidence.

e Protocol for Metallurgical Examination and Testing of Drill Pipe [February 3, 2011]

e Test Procedure - Fractured/Sheared Recovered Drill Pipe Ends [February 21, 2011]
Visual Examination of Blowout Preventer Ram Blocks

Visual assessment included photographic documentation, dimensional measurements,
documentation of cleaning, and collection of any additional evidence from the ram blocks
both as part of their removal and during cleaning. Samples of viscous materials cleaned
from the ram blocks were collected and placed into evidence along with other solid
evidence collected off of the ram blocks. Table 16 is a summary of the Federal Bureau of
Investigation’s (FBI) Evidence Recovery Team (ERT) Item Identifications that were used
to label the rams. The location and date of recovery are indicated in the table.

Table 16 Evidence Item Numbers for Blocks Recovered from BOP

Item ID Description Location of Recovery Find Date

57 Port BSR BOP 12/2/2010

68 Starboard BSR BOP 12/3/2010

84 Port CSR BOP 12/7/2010
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Item ID Description Location of Recovery Find Date
104 Starboard CSR BOP 12/9/2010
111 Port Upper VBR BOP 12/10/2010
112 Starboard Upper VBR BOP 12/10/2010
139 Port Middle VBR BOP 12/15/2010
140 Starboard Middle VBR BOP 12/15/2010
158 Starboard Lower VBR BOP 12/17/2010
159 Port Lower VBR BOP 12/17/2010

6.2.1.1. Blind Shear Ram Blocks

The Blind Shear Ram Blocks (BSRs) in the as-recovered condition are shown in Figure 8
and Figure 9. Figure 10 and Figure 11 show the blocks following collection of viscous
materials and any solid materials/objects and cleaning.

c. Top View d. Top Choke Side View

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a . oes .

e. Kill Side View f. Choke Side View

Figure 8 Starboard Side (Upper) BSR As-Recovered Condition
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c. Detail of Cutting Blade
Figure 9 Port Side (Lower) BSR As-Recovered Condition

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a. Bottom view / b. Front view —

c. Front View — Choke Side d. Kill Side View

Figure 10 Starboard Side (Upper) BSR Following Cleaning

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a. Choke Side View

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b. Bottom View

Figure 11 Port Side (Lower) BSR Following Cleaning

After the ram blocks had been moved to ground level and prior to cleaning, indications of
metal-to-metal contact between the two ram block faces were observed. Material was
missing from both the starboard and port side BSRs due to erosion. The elastomer of side
packers was totally missing and metallic components partially eroded. The elastomeric
blade seal on the upper (starboard) ram block was missing except for approximately an
inch of material pressed down beneath the metallic packer components which were also
eroded. The skid pads on the bottom of the rams appeared to be slightly worn. The skid
pad on the bottom of the kill side of starboard BSR was missing; however, the screws
used for holding the pad in place were intact. The rubber insert on the top of the rams was
slightly worn. Foreign material, which appears to be “junk shot” from the intervention
effort, was found on both rams.

6.2.1.2 Casing Shear Ram Blocks

The Casing Shear Ram Blocks (CSRs) in the as-recovered condition are shown in Figure
12 and Figure 13. Figure 14 and Figure 15 show the CSRs following collection of viscous
and any solid materials/objects and cleaning.

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c. Front View - Cutting Blade

Figure 12 Starboard Side (Lower) CSR As-Recovered Condition

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e. Bottom View of Blade f. Expanded Bottom View of Blade

Figure 13 Port Side (Upper) CSR As-Recovered Condition

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a) Tor View — (b) Bottom View
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(c) Expanded Top View

Figure 14 Starboard Side (Lower) CSR Following Cleaning

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(a) Bottom View - b) Top View

cae

(o) Expanded Bottom View

Figure 15 Port Side (Upper) CSR Following Cleaning

Erosion was present on both the starboard and port side ram blocks. The worn area on the
port or upper block was approximately 6 inches by 8 inches in length. The shape and size
of the erosion pattern is similar to the shape of the top end of Drill Pipe segment 148. The
erosion on the top surface of the starboard or lower block indicated a flow path through

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